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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 22-21714-CIV-ALTONAGA

  BRIAN GALLANT,

         Plaintiff,
  v.

  TD BANK, N.A., et al.,

        Defendants.
  _____________________/

                                              ORDER

         THIS CAUSE came before the Court on Defendant, Early Warning Services, LLC’s

  Unopposed Motion for Extension of Time [ECF No. 34]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED in part. Defendants

  shall file a single, combined response or their separate answers to Plaintiff’s Amended Complaint

  no later than September 6, 2022.

         Defendant is reminded that Local Rule 7.1 (A)(2) requires certain motions identified in

  Local Rule 7.1 (A)(1) be accompanied by a proposed order. The present Motion was not

  accompanied by a proposed order.           Furthermore, pursuant to 3I(6) in the CM/ECF

  Administrative Procedures, all proposed documents must also be e-mailed to the judge in word

  format to the email address of the judge. Future instances of non-compliance may result in a

  denial of the motion.

         DONE AND ORDERED in Miami, Florida, this 5th day of August, 2022.



                                                _______________________________________
                                                CECILIA M. ALTONAGA
                                                CHIEF UNITED STATES DISTRICT JUDGE
  cc:    counsel of record
